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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CLEAN ENERGY EXPERTS

Vv.

CIVIL ACTION NO.: 23-1940

Plaintiff,

NICK BENHAMMOU and DANIEL
YOMTOBIAN,

Defendants. :

MEMORANDUM OF LAW IN OPPOSITION OF
DEFENDANT DANIEL YOMTOBIAN’S MOTION TO DISMISS

Gordon Rees Scully Mansukhani, LLP

“” <
J os is a

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Attorneys for Plaintiff
CLEAN ENERGY EXPERTS

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Dated: New York, New York

October 20, 2023
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5. Plaintiffs fraud claim is viable given that Defendants breached a duty to defendant
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PRELIMINARY STATEMENT

Plaintiff submits the instant Memorandum of Law in opposition to Defendant Daniel
Yomtobian’s Motion to Dismiss. The Court should deny the instant motion because Plaintiffs
causes of action for conversion, fraud, and misrepresentation against Defendant Yomtobian are
claims upon which relief may be granted. As discussed herein, Plaintiff's allegations involve
business torts with specific reference to the individual Defendants’ own unlawful or tortious
actions, which occurred in the context of but necessarily outside the bounds of the underlying
contracts at issue. It bears emphasis that the unlawful and tortious conduct at issue is personal to
the Defendants, and involves intentional material misrepresentations made by the Defendants to
Plaintiff and to non-party American Express which caused Plaintiff damages and unjustly enriched
one or both of the Defendants personally and rendered Plaintiff's contractual counterparties, i.e.,
Defendants’ closely held corporations, judgement proof. Simply stated, this case involves
Defendants’ own lies and sham corporations, which they used to damage Plaintiff.

Plaintiff Clean Energy Experts (CEE) brought this action on March 9, 2023, alleging causes
of action for conversion, fraud, and misrepresentation against Defendants Nick Benhammou and
Daniel Yomtobian. See, ECF # 2. This action arises from repeated fraudulent charge backs
beginning in June 2022 and made from the Defendants’ accounts against sales lead fees that CEE
assessed. Plaintiff alleges economic damages in excess of $250,000.00.

Plaintiff's Complaint sets forth causes of action upon which this Court may grant relief.
Indeed, and as set forth below, it is permissible and common to being causes in tort personally
against parties who acted unlawfully under color of their corporate authority, if such unlawful
actions constitute breach of a duty independent of the breach of contract. Indeed, the existence of

corporate entity liability limitation does not protect a party, such as Defendants herein, from the
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consequences of their own unlawful actions, including those involving conversion, fraud, and
intentional misrepresentation. Should the Court find that Plaintiffs allegations are legally
insufficient, which it should not, Plaintiff respectfully requests leave to file an amended complaint.
Plaintiff has ample factual basis on which to do so, which basis is known to all parties herein and
to the Court, and Defendants will suffer no prejudice therefrom. Moreover, given the existence of
the Nassau County Action, referenced in the accompanying Declaration of Counsel, such leave
will serve the interests of judicial comity. See, Declaration of Brendan T. Mahoney in Opposition
to Defendant Yomtobian’s Motion to Dismiss (“Mahoney Declaration”), Exhibit A.

STATEMENT OF FACTS

As set forth in full detail in the Complaint this action arises from Defendants’
misrepresentations made to their merchant services provider American Express, which caused
American Express to charge back sales lead fees rightfully due and owing to Plaintiff CEE. This
course of action resulted in a loss of over $250,000.00 to CEE. See, ECF # 2, at 26-33, 55 and
56. There is a related action, presently pending in the Supreme Court of the State of New York,
County of Nassau under Index No. 616835/2022, which as discussed below illuminates the facts
at issue in this matter, and to which counsel directs the Court’s attention in the interest of judicial
comity and economy. See, Mahoney Declaration, Exhibit A. Although Plaintiff presently lacks
the benefit of any discovery in this matter, it has adduced the following facts concerning
Defendants’ torts at issue in this litigation:

1. In June 2022, Benhammou and Yomtobian began to repeatedly submit false chargeback -
requests to American Express Credit Card Company (See ECF # 2 at 4).

2. Benhammou and Yombtobian did not provide CEE with a reason for these chargeback
requests, nor did they attempt to resolve any billing concerns with CEE. (See, ECF #2 at

3.).
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On or about June 28, 2022, Solar Program, either by or through Benhammou and/or
Yomtobian, requested $11,000 in chargebacks from American Express for lead fees that
CEE had permissibly charged Solar Program. (See, ECF #2 at 426).

These chargeback requests were rejected by American Express as they related to
legitimate charges for goods and services provided by CEE to Solar Program, per their
contract. (See, ECF # 2 at 927).

Solar Program resubmitted the same chargeback request for $11,000, as well as multiple
other chargeback requests, which totaled to $65,600; which were approved by American
Express (See, ECF # 2 at 428).

Group Solar, either by or through Benhammou, acted in a similar fashion in submitting
chargeback requests to American Express for legitimate lead fee charges that CEE had
permissibly charged Group Solar, amounting to a total of $193,288.00. (See, ECF #2 at
430-31).

Benhammou told CEE that he would take care of the $11,000 chargeback, and that “you
guys deliver the leads so it shouldn’t be any charges back anyway.” See, ECF # 2 at §36).

When asked about additional chargeback requests, Benhammou told CEE that “We are
100% with you and those leads will be paid in full by [Solar Program] this is inadmissible
what [he is] doing” (See, ECF # 2 at §39).

Benhammou placed the responsibility of the chargebacks from Solar Program onto
Yomtobian (See, ECF # 2 at 741).

For “nearly the entirety of its existence, Benhammou alleges that Yombtobian used the
Solar Program Bank Account as his “own personal piggybank” (See, Mahoney
Declaration, Exhibit A, at §3).

Benhammou alleges that Yombtobian disputed valid charges on the Company’s Credit
card and refused to pay vendors and installers for the work they performed for the
company (See, Mahoney Declaration, Exhibit A, at 93 and 920).

Benhammou alleges that Yombtobian cut off all of his access to the Company’s bank
accounts, credit cards, book and records (See, Mahoney Declaration, Exhibit A, at 95).

Benhammou alleges that Yomtobian used Solar Program’s funds for personal expenses,
such as a wig costing over one-thousand dollars for his wife (See, Mahoney Declaration,
Exhibit A, at $19).
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14. Benhammou alleges that in June and July 2022, Yombtobian removed all of his access to
Solar Program’s American Express account, as well as the company email system used
to communicate with vendors, third parties, contractors, etc. (See, Mahoney Declaration,
Exhibit A, at 924).

15. Benhammou alleges that the actions committed by Yomtobian (including the chargebacks

for legitimate fees) were “wrongful and illegal” (See, Mahoney Declaration, Exhibit A, at
{28 and 429).

It is incredibly important to note that both Plaintiff and Defendant Benhammou have identified
June and July of 2022 as the time in which the tortious scheme at issue became apparent. Simply
stated, Plaintiff is in possession of the factual granularity which underlies the allegations that it has
made in this matter. Even at this early stage in the litigation, it is clear Defendant Yomtobian was
not acting “in furtherance of corporate objectives” when he used the corporation as his personal
bank account, nor was he merely committing a breach of contract by lying to American Express
to induce them to charge back Plaintiff's account. Rather, Defendants, acting in concert or
otherwise, were also not merely committing breach of contract when they indicated to Plaintiff
that despite the charge backs, they would pay Plaintiff for the customer leads sold. See, ECF #2,
at [P36 and 39. Indeed, Defendants were committing fraud, conversion, and intentional
misrepresentation. It is black letter law that these claims asserted for conversion, fraud, and
intentional misrepresentation are individual claims, specifically being intentional torts that do not
require a contract to proceed and which may be brought despite occurring in the context of a
contract breach. These claims asserted have a sound basis and developed foundation in the factual
record which presently exists. Accordingly, Defendant Yomtobian’s Motion to Dismiss should be

denied.

ARGUMENT

1. The Motion to Dismiss Standard disfavors granting Defendant Yomtobian’s
Motion, particularly before discovery.
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When considering a Rule 12(b)(6) Motion to Dismiss, the Court must accept all factual
allegations in the Complaint as true, and must draw all reasonable inferences in favor of Plaintiff.

See, Leatherman v. Tarrant County Narcotics Intelligence & Coordination Unit, 507 U.S. 163, at

163 (1993), and Bolt Elec., Inc. v. City of New York, 53 F.3d 465, at 469 (2™4 Cir. 1995). Further,

it is well established that New York courts disfavor disposition of a veil piercing claim prior to
discovery on a pre-answer or pre-discovery Motion to Dismiss. Specifically, New York Appellate
courts have held that “a fact-laden claim to pierce the corporate veil is unsuited for resolution on

a pre-answer, pre-discovery motion to dismiss.” 245 E. 19 Realty LLC v. 245 E. 19th St. Parking

LLC, 194 N.Y.S.3d 923 (Sup. Ct. N.Y. County, 2023), citing Cortlandt St. Recovery Corp. v.

Bonderman, 31 N.Y.3d 191 at 203 (2018). See also, Holme v. Global Minerals & Metals Corp.,

880 N.Y.S.2d 873 (Sup. Ct. N.Y. County, 2009). Plaintiff's allegations concerning the
Defendants’ fraud, conversion, and intentional misrepresentation are by their legal nature fact
laden, and indeed Plaintiffhas presented to the Court and parties the discrete facts presently known
to it. Discovery will inevitably bear out further facts bearing on these claims, and it would be
unjust to Plaintiff to prematurely foreclose Plaintiff's rights at this juncture. Plaintiff has met its
initial burden, is entitled to proceed with discovery in this matter, and so the instant motion must

be denied.

2. It is permissible and common for personal business tort claims to arise in the
context of a contract with a corporate entity, and Plaintiff is entitled to bring
such claims in this case.

New York case law analyzing instances where such independent allegations of unlawful
conduct are made in addition to mere breach of contract supports Plaintiffs position. Indeed,
business torts such as fraud, intentional misrepresentation, and conversion, often arise in
conjunction with a breach of contract, but those torts alone may be alternative causes of action.

For example, in North Shore Architectural Stone, Inc., the Appellate Division Second Department

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found that the corporate officer of a limestone company knowingly lied about the delivery of a
product to a party to induce the plaintiff to pay for the product before it had been delivered. North

Shore Architectural Stone, Inc. v. American Art is in Construction, Inc., 61 N.Y.S.3d 627 (2017

N.Y. App. Div. 2d). The court found that the case before it involved more than a mere breach of
contract for failing to deliver a product on time, and held in that case that the defendant personally
participated in making the misrepresentation on behalf of the corporation and therefore could not
avoid liability simply because he was doing this in his capacity as a corporate officer. Jd. at 629.
The Second Department in North Shore was clear in finding that while Defendant’s alleged
conduct may have been committed “on behalf of the corporation in the course of official duties”,

it did not prevent liability from being imposed upon him. Id., citing Rajeev Sindhwani, M.D..,

PLLC v Coe Bus. Serv., Inc., 52 AD3d at 677; see PDK Labs, Inc. v G.M.G. Trans W. Corp., 101

AD3d at 973; Hamlet at Willow Cr. Dev. Co., LLC v Northeast Land Dev. Corp., 64 AD3d 85,

116 [2009]; Aguirre v Paul, 54 AD3d 302 [2008]; Greenway Plaza Off. Park-1 v Metro Constr.

Servs., 4 AD3d at 329-330). “Corporate officers or agents are personally liable for those torts they
personally commit, or which they inspire or participate in, even though performed by an artificial

body.” Michaels v. Lispenard Holding Corp., 11 A.D.2d 12, 201 N.Y.S.2d 611 (1960).

Defendant Yomtobian’s argument that no action for fraud may stand if the only fraud

charged relates to breach of contract is inapplicable to this case. See, Mohegan Lake Motors, Inc.
vy. Maoli, No. 16-CV-06717 (NSR), at *2—3 (S.D.N.Y. Dec. 7, 2017) (Defendant Yomtobian cites
this unreported trial court decision for the proposition that “[N]o action for fraud [can] stand []
where the only fraud charge relates to breach of contract.”). Plaintiff claims, however, fit within
a well-established exception to this rule, as discussed below. Indeed, Plaintiff has alleged,

however, that the Defendants abused their corporations’ forms and intentionally lied to both

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Plaintiff and non-party American Express to wrongly obtain charge backs to Plaintiffs detriment,

and the facts presently known support these allegations.

3. Plaintiff is entitled to pierce the corporate veil in this case, involving
Defendants’ closely held entities that Defendants used to effectuate their
fraudulent scheme, and at a minimum Plaintiff is entitled to proceed with
discovery in the case at bar.

Plaintiffhas alleged that the Defendants, including Mr. Yomtobian, dominated their closely
held corporations in abuse of the corporate form, and in doing so perpetrated torts, including fraud,
conversion, and intentional misrepresentation upon Plaintiff, which resulted in Plaintiffs
damages. While New York Courts appropriately disfavor disregard of the corporate form, veil

piercing is permissible where Plaintiff shows that “(1) the owners exercised complete domination

of the corporation in respect to the transaction attacked; and (2) that such domination was used to

commit a fraud or wrong against the plaintiff which resulted in plaintiff's injury.” Cobalt Partners,

L.P. v. GSC Cap. Corp., 97 A.D.3d 35, 40, 944 N.Y.S.2d 30, 33 (2012), citing Matter of Morris v.

New York State Dept. of Taxation & Fin., 82N.Y.2d 135, 141 (1993). Cobalt further explains that

“Those seeking to pierce a corporate veil, of course, bear a heavy burden of showing that the
corporation was dominated as to the transaction attacked and that such domination was the
instrument of fraud or otherwise resulted in wrongful or inequitable consequences. Evidence of

domination alone does not suffice without an additional showing that it led to inequity, fraud or

malfeasance [emphasis added; citations omitted]’”. Cobalt Partners, L.P., supra. at 33-34, citing

TNS Holdings v. MK] Sec. Corp., 92 N.Y.2d 335, 339, 680 N.Y.S.2d 891, 703 N.E.2d 749 (1998)).

It is respectfully submitted that Plaintiffs allegations, and the evidence Plaintiff has been able to
adduce so far without the aid of discovery, meets this burden. Specifically, as set forth in the
Complaint and its exhibits, as well as Mr. Benhammou’s allegations in the related Nassau County

action, it has been shown that, at a minimum, Mr. Yomtobian used his domination of the corporate

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form to commit tortious acts, to wit fraud, conversion, and intentional misrepresentation, against
Plaintiff, which acts caused Plaintiff's damages. Defendant Yomtobian cannot come before the
court having unclean hands from inflicting this inequity, fraud, and malfeasance upon Plaintiff,
seeking dismissal on inapposite legal technicalities that, Plaintiff respectfully submits, are
themselves insufficient to obtain a dismissal.

4. Plaintiff has plead particular facts, so far uncontroverted, regarding
Defendants’ acts in furtherance of the alleged fraud, conversion, and
intentional misrepresentation, entitling it to proceed with this litigation.

Defendant Yomtobian cites several authorities for the proposition that Plaintiff is not

entitled in this action to pierce the corporate veil. Mr. Yomtobian’s reliance on these cases is
misplaced, however, and if anything they support Plaintiff's position that it is entitled to proceed

personally against Defendants in this action as alleged. For example, Defendant cites Silvercreek

for the proposition that a Plaintiff may not satisfy fraud pleading requirements with reliance on

speculation and conclusory allegations. See, Silvercreek Mgmt., Inc. v. Citigroup, Inc., 248 F.
Supp. 3d 428, 438 (S.D.N.Y. 2017): Silvercreek acknowledges, however that a “plaintiff may
establish a strong inference of scienter, among other ways, by alleging facts that constitute strong
circumstantial evidence of conscious misbehavior or recklessness.’ ” Id. at 177 (quoting Lerner v.

Fleet Bank, N.A., 459 F.3d 273, 290 (2nd Cir. 2015)). As noted above, in the Complaint, the

exhibits thereto, and the Mahoney Declaration and its Exhibit A, there are ample facts directly
supporting Plaintiff's allegations of fraud, conversion, and intentional misrepresentation aimed at
Defendants, as well as indirectly supporting those allegations by inference. These facts establish
that beginning in June of 2022, Defendant Yomtobian used his domination and control of the
corporate entities at issue to cause American Express to wrongly charge back the Plaintiff's

accounts.

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Defendant’s reliance on Liberty Mutual is similarly misplaced, and counsel cannot locate

anywhere in the cited trial court opinion the quote which Defendant apparently found in that

authority. See, Liberty Mut. Ins. Co. v. Palace Car Servs. Corp., No. 06-cv-4881 (FB)(CLP), at
*2 (E.D.N.Y. Aug. 8, 2007) (citations omitted) (Defense counsel seems to be misquoting this case.

The quote, “[t]he New York courts are very reluctant to disregard the corporate entity” does not

appear anywhere in the body of the decision on Westlaw.). In fact, the court in Liberty Mutual
found that plaintiff could pierce the corporate veil. See, Id. Defendant is well aware of the factual
particulars underlying Plaintiffs claims herein, having received both Plaintiff's complaint and its
extensive exhibits, as well as the complaint in the related Nassau County action. Defendant
Yomtobian cannot hide his unclean hands by asserting that Plaintiff has yet to sufficiently establish
the factual basis of its causes of action prior to discovery.

Similarly, Defendant Yomtobian’s reliance on England Strohl/Denigris, Inc. is misplaced;

that case supports Plaintiffs position that Plaintiff is entitled to proceed personally against
Defendants, because Defendants used their corporate forms as a shell from which they unlawfully

extracted personal enrichment to Plaintiffs detriment. See, England Strohl/Denigris, Inc. v.

Weiner, 538 F. Supp. 612, 615 (S.D.N.Y. 1982): (The Court here also explains “[i]t is clear that to
pierce the corporate veil, and thus incur the personal liability of its officers, the corporate form
must be found to be nothing more than a mere shell dominated and controlled by the individuals

to carry on their own personal business.” Id. at 614, citing Astrocom Electronics v. Lafayette

Radio, 63 A.D.2d 765, 766 (3d Dep't 1978); Guptill Holding Corp. v. State, 33 A.D.2d 362, 365

(3d Dep't), affd, 31 N.Y.2d 897 (1970). It has never been alleged and no facts support the
conclusion that Defendants’ actions underlying this dispute were taken for legitimate corporate

purposes, for example, to preserve the assets of a struggling corporate entity. Indeed, Defendants

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unlawfully used their corporate entities as an artifice and as a means by which to obtain personal
enrichment. Therefore, Plaintiff's causes of action must, at least at this juncture, be allowed to
stand.!

5. Plaintiff’s fraud claim is viable given that Defendants breached a duty to
Plaintiff extraneous to the Contract, made fraudulent misrepresentations,
including of present facts, to Plaintiff and non-party American Express
collateral and extraneous to the Contracts at issue, and in so making such
misrepresentations along with unlawfully rendering the corporate entities

insolvent caused Plaintiff special damages unrecoverable as contract
damages.

Plaintiff's fraud claim fits within multiple exceptions to the general prohibition under New
York law that a fraud claim may not proceed as duplicative of a contract claim. The Bridgestone
case articulates these exceptions to the general prohibition of such claims thoroughly, stating: “to
maintain a claim of fraud in such a situation, a plaintiff must either: (i) demonstrate a legal duty
separate from the duty to perform under the contract, see Van Neil v. Berger, 219 A.D.2d 811, 811,
632 N.Y.S.2d 48, 48 (4th Dep't 1995) (memorandum); see also Papa's—June Music, 921 F.Supp.
at 1161 (citing cases); or (ii) demonstrate a fraudulent misrepresentation collateral or extraneous
to the contract, see Deerfield Communications Corp. v. Chesebrough—Ponds, Inc., 68 N.Y.2d 954,
956, 510 N.Y.S.2d 88, 502 N.E.2d 1003 (1986) (memorandum) (refusing to dismiss fraud claim
alleging “a misrepresentation of present fact, not of future intent” which misrepresentation was
“collateral to, but which was the inducement for the contract” and thus not duplicative of contract
claim) (citations and internal quotation marks omitted); Triumph Advertising, 116 A.D.2d at 527,

497 N.Y.S.2d at 675, see also Papa's—June Music, 921 F.Supp. at 1161 (citing cases); or (iii) seek

1 Similarly, Defendant Yomtobian cites the Puma Indus. case for the proposition that corporate officers cannot be
held liable for the acts of a corporation. While such is black letter law, Plaintiff's citation dehors the fact that in this
case Defendant Yomtobian acted ultra vires in his corporate capacity and indeed used the corporate entity to
unlawfully enrich himself. See, Puma Indus. Consulting, Inc. v. Daal Assocs., Inc., 808 F.2d 982, 986 (2d Cir.
1987) (citing In re Gibraltor Amusements, Ltd., 291 F.2d 22, 24-25 (2d Cir. 1961).

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special damages that are caused by the misrepresentation and unrecoverable as contract damages,
see Deerfield, 68 N.Y.2d at 956, 510 N.Y.S.2d 88, 502 N.E.2d 1003; Triumph Advertising, 116
A.D.2d at 527-28, 497 N.Y.S.2d at 675; see also Papa's—June Music, 921 F.Supp. at 1161 (citing

cases). Bridgestone/Firestone, Inc. v. Recovery Credit Services, Inc., 98 F.3d 13 (2"4 Cir. 1996).

First, Plaintiff has here shown that Defendants breached obligations to Plaintiff collateral or
extraneous to the contracts at issue; specifically, Defendants had a duty to not misrepresent present
facts so to both avoid paying what was owed under the contract and induce Plaintiff to continue to
perform under the contract.

Instead, Defendant Yomtobian used the corporate form as his own personal piggy bank,
and Defendant Benhammou repeatedly assured Plaintiff that the lead fees would be paid. See,
Mahoney Declaration, Exhibit A, inter alia, at [P3, 5, 19, and 20. Second, Defendants made
misrepresentations collateral and extraneous to the contracts at issue; specifically, Defendants
made misrepresentations to American Express concerning the charge backs at issue, and while
doing so made misrepresentations to Plaintiff that the charge backs should not have occurred and
would be resolved. See, ECF #2 at P 36 and 39. Finally, the very reason Plaintiff is proceeding
against Defendants personally in this forum is because Plaintiff is entitled to special damages
unrecoverable under the contract. Such normal, contractual damages are unrecoverable expressly
because of Defendants’ unlawful malfeasance, i.e. using the funds of closely held corporations at
issue to pay for personal expenses, which resulted in leaving the corporate entities at issue
insolvent and judgment proof.

It is especially important that the misrepresentations at issue were misrepresentations of

present facts collateral and extraneous to the contract. In Great Earth International Franchising

Co., the court stated that “[t]he issue in the second exception is whether the alleged fraudulent

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representations should be considered collateral or extraneous to the contract, and as a matter of
both logic and law, the primary consideration here is whether the contract speaks to the issue.

Great Earth International Franchising Co. v. Milks Development, 311 F.Supp.2d 419 at 426-427

(S.D.N.Y. 2004) (internal citations omitted). To be sure, under the Lead Purchase Agreement
Defendants agreed not to initiate a charge back without first exhausting attempts to resolve the
dispute with Plaintiff. See, e.g., ECF #2, Exhibit C. The contract did not speak to nor contemplate
a situation where one or both of the Defendants would make material misstatements to American
Express to induce them to issue a charge back and make material misstatements of present facts to
Plaintiff that the charge back issues would be resolved and Plaintiff would be paid, all while
draining the corporate coffers of funds to pay personal expenses.

It would have been a different matter entirely if Defendants through their corporate entities
had merely indicated to Plaintiff that they were unsatisfied with the continued business relationship
for whatever reason and repudiated the contracts at issue. Instead, Defendants made intentional
misrepresentations to American Express to assure that charge backs would issue in favor of their
corporations, and intentional misrepresentations to Plaintiff to assure Plaintiff that the charge back
issues would be resolved. These false statements of present facts made to Plaintiff induced
Plaintiff to proceed in a course of dealing with the Defendants’ corporations, and are indeed what
entitles Plaintiff to proceed on its cause of action for fraud. See, Id. at 427-428 (finding that “an
intention not to perform under a contract is no different from the commonly presumed intention
either to perform or to pay damages for breach of contract, and should be penalized no more
extensively. By contrast, a misrepresentation of present fact...might give rise to a claim of

fraudulent inducement.”).

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In this case, Plaintiffs’ damages also arise from Defendants’ fraudulent conduct, and by
this fraudulent course are unrecoverable as contract damages. Thus, Plaintiff may avail itself of
the third exception to the general prohibition against bringing a cause of action for fraud in a case
stemming from breach of contract. See, Id., at 429-430 (finding that to satisfy this exception,
“(djefendants’ damages must have been caused by the misrepresentation and unrecoverable as
contract damages,” and “[t]he injury must not only exist, it must flow directly and proximately
from the fraud, rather than the breach of contract.”). Again, had Defendants through their
corporate entities merely repudiated the contracts at issue, Plaintiffs damages would have been
insubstantial and possibly only nominal. In such a scenario, the course of dealing between the
parties would have ceased, Plaintiff would have stopped furnishing sales leads, and Defendants
through their corporations’ American Express accounts would have stopped paying Plaintiff.
Instead, Defendants lied to Plaintiff about their corporations’ intentions to continue to perform
under the Lead Sales Agreements, while lying to non-party American Express about the leads
furnished under those agreements. Such a course of misrepresentations caused the course of
dealing to continue, to Plaintiffs detriment and causing Plaintiff greatly magnified damages over
that which Plaintiff would have suffered under a mere repudiation of the contracts. It is well
established that an action for fraud may lie where a promise is made with “‘a preconceived and
undisclosed intention of not performing it, [because] it constitutes a misrepresentation of a material

existing fact.” See, Sabo v. Delman, 3 N.Y.2d 155 (1957).*

6. Plaintiff’s claims for conversion and intentional misrepresentation must also
stand, as they are based on Defendants’ intentional, tortious conduct which is
necessarily extra-contractual, causing Plaintiff damages which Plaintiff

2 Defendant’s citation to IMG Fragrance is unpersuasive, as that case dealt with fraudulent concealment, which
requires a fiduciary relationship. See, IMG Fragrance Brands, LLC v. Houbigant, Inc., 679 F.Supp.2d 395 at 408-
410 (S.D.N.Y. 2009). Moreover, Plaintiff cannot speak to Defendant’s citation to “Maxim Grp. LLC,” as there is no
proper citation to that case in Defendant’s brief, and counsel cannot locate that authority on Westlaw. °

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would not have suffered if there had merely been a breach of the Lead Sales
Agreements.

Plaintiff agrees that an action for conversion may not lie for mere non-performance of a
contract. Such a bare allegation, however, has not been made in this case.? Plaintiff has pled
specific facts concerning Defendant’s unlawful conduct, which conduct was totally outside the
bounds of the contracts at issue, and which conduct supports claims against Defendants for
conversion, fraud, and intentional misrepresentation. In that regard, the Kubin case supports

Plaintiff's position. See, Kubin v. Miller, 801 F. Supp. 1101, 1118 (S.D.N.Y. 1992), citing, Matzan

v. Eastman Kodak Company, 134 A.D.2d 863 (4th Dept. 1987). Specifically, Kubin states that an

action for conversion may not lie for simple nonperformance under an alleged agreement unless
the plaintiff sets forth additional allegations of wrongdoing. Id. In Kubin, the court found that
Plaintiff's conversion claim was independent of his contract claim, in that Plaintiff alleged that
“the defendant has diverted and continues to divert business, assets, and profits from CMI to
himself and to other entities he owns or controls. This allegation is distinct from Kubin’s
contention that defendant failed to perform the alleged agreements.” Id. As set forth extensively
above, Plaintiff has alleged extra contractual wrongdoing on the part of Defendants, including
material misrepresentations made to Plaintiff, which induced Plaintiff to continue to provide sales
leads for which Plaintiff was never paid, as well as intentional material misrepresentations to

American Express, resulting in Defendants’ theft of over $250,000 of sales leads from Plaintiff;

3 Given that Plaintiff has alleged wrongdoing beyond mere breach of contract, it is respectfully submitted that
Defendant Yomtobian’s citations to Rolls-Royce and Command Cinema are unpersuasive. See, Rolls-Royce Motor
Cars, Inc. v. Schudroff, 929 F. Supp. 117, 124 (S.D.N.Y. 1996) (citing Peters Griffin Woodward, Inc. v. WCSC,
Inc., 88 A.D.2d 883, 884 (1st Dep't 1982), and finding that no claim for conversion may lie where damages. are
merely being sought for a break of contract), Command Cinema Corp. v. VCA Labs, Inc., 464 F.Supp.2d 191, 199
(S.D.N.Y.2006) “There is no conversion action under New York law where damages are sought for breach of
contract; rather, a plaintiff must show acts that were unlawful or wrongful as opposed to violations of contractual
rights.”’).

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finally, on information and belief, Defendants unlawfully drained their corporations of cash to
further their own personal expenses, rendering those entities judgment proof.’

New York law subjects Plaintiff's Intentional Misrepresentation count to the same pleading
requirements as Plaintiffs fraud count, and so its count for Intentional Misrepresentation must
also rise or fall upon a determination that Defendants engaged in some unlawful conduct beyond

mere breach of contract. See, B & M Linen, Corp. v. Kannegiesser, USA, Corp., 679 F.Supp.2d

474 (S.D.N.Y. 2010). It is respectfully submitted that even at this early stage and without the
benefit if discovery, Plaintiff has satisfied this burden.

CONCLUSION

The gravamen of Plaintiff's Complaint is that the Defendants engaged in a course of
unlawful conduct that caused Plaintiff damages, and that such a course of conduct was necessarily
outside the bounds of the contracts at issue and indeed beyond the scope of their corporate
capacities. Plaintiff is at a decided disadvantage in offering facts in support of its allegations at
this early juncture and without the benefit of discovery, and accordingly the law disfavors a
dispositive determination at this time. Nevertheless, there is ample evidence that Defendant
Yomtobian abused the corporate form for his own pecuniary gain, and that Defendants made
material misrepresentations of present facts to both Plaintiff and non-party American Express in
furtherance of their unlawful scheme. Defendants are not prejudiced by Plaintiff's pleadings at
this stage, as the facts of their scheme are certainly known unto one or both of the Defendants.
Moreover, judicial comity requires that Plaintiff's claims be heard, given the pendency of the

related action in the Supreme Court of the State of New York, County of Nassau. Finally, it is

4 Plaintiff is admittedly painting with a broad brush, imputing actions to both defendants, as Plaintiff is without the
benefit of any discovery. It may well come to light in the course of this litigation that either Benhammou or
Yomtobian are entirely without blame in this action, but discovery is required to come to such a conclusion, if same
is even justified.

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respectfully submitted that if the Court dismisses the instant action, which it should not, that the
Court does so without prejudice and with leave for Plaintiff to file an Amended Complaint alleging
further factual particularity which it now knows given the June 29, 2023 Complaint filed in the

Nassau County action.

Gordon Rees Scully Mansukhani, LLP

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CLEAN ENERGY EXPERTS
Dated: New York, New York
October 20, 2023

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on October 20, 2023, a copy of the foregoing document was
filed electronically with the Clerk of the Court using the CM/ECF system, which served a copy of

the foregoing on all counsel of record.

s/ Brendan T. Mahoney

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